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                 Exhibit L
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From:           Andy P.
To:             Deanne M. O"Dell
Subject:        [External] Settlement Proposal - Perrong v. Frontier
Date:           Tuesday, October 20, 2020 4:22:24 PM


STATEMENTS MADE UNDER FRE 408 and PA RULE 408

Ms. O'Dell:

Before I engage in motions practice surrounding your completely deficient and non-
responsive discovery responses, resolving the purported deficiencies outlined in your
objections to my subpoena, and continue my work in responding to your Motion for Summary
Judgment, I wanted to give your client the opportunity to resolve this matter by paying a civil
penalty of         to the Commission in exchange for a confidential release of the alleged
violations of the Utilities Code which are the subject of this complaint. As time is of the
extreme essence in this matter, this offer will remain open only until Thursday, October 22,
2020 at 3:00 PM EST, at which time this offer shall be revoked. I look forward to hearing
from you and hope that we will be able to resolve this matter.

Thank you kindly,
Andrew Perrong
